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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                         NO. 2:25-cv-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                         DECLARATION OF LANE
                               Plaintiffs,                 POLOZOLA IN SUPPORT OF
12                                                         PLAINTIFFS’ MOTION FOR A
        v.                                                 TEMPORARY RESTARAINING
13                                                         ORDER
     DONALD TRUMP, in his official capacity
14   as President of the United States; U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security; U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration; U.S.
     DEPARTMENT OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State; U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services; U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General; U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture; and the UNITED STATES
25   OF AMERICA,
26                             Defendants.


     DECLARATION OF LANE POLOZOLA                    1              ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
     CASE NO. 2:25-cv-00127                                              800 Fifth Avenue, Suite 2000
                                                                             Seattle, WA 98104
                                                                                (206) 464-7744
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 1          I, Lane Polozola, declare as follows:
 2          1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
 4          2.      I am a Managing Assistant Attorney General with the Wing Luke Civil Rights
 5   Division of the Washington State Office of the Attorney General. I am one of the attorneys
 6   representing Plaintiff State of Washington in the above-captioned matter.
 7          3.      The Plaintiff States in this matter filed this lawsuit today, January 21, 2025, and
 8   file their Motion for a Temporary Restraining Order concurrently herewith. The Motion seeks a
 9   Temporary Restraining Order to enjoin the President’s Executive Order of January 20, 2025,
10   entitled “Protecting the Meaning and Value of American Citizenship.”
11          4.      Pursuant to Federal Rule of Civil Procedure 65(b) and Western District of
12   Washington LCR 65(b)(1), counsel for the State of Washington called the office of the United
13   States Attorney for the Western District of Washington in advance of filing at 9:30am on January
14   21, 2025, to notify the office of the Plaintiffs’ intention to file the Complaint and Motion for a
15   Temporary Restraining Order in the near term, and to note it for same-day hearing once filed.
16   Washington’s counsel spoke with Joe Fonseca with the United States Attorneys’ Office, Western
17   District of Washington. Counsel for Washington also emailed the United States Attorney for the
18   Western District of Washington and the Chief of the Civil Division, at 9:32am on January 21,
19   2025, to notify the office of Plaintiff States’ intention to file the Complaint and Motion for a
20   Temporary Restraining Order in the near term. The Civil Chief let the State know that Brad
21   Rosenberg with the Civil Division’s Federal Programs Branch would be the State’s contact for
22   the case, and the State committed to send copies of the motion for Temporary Restraining Order
23   and all supporting papers via email once filed.
24          5.      Attached hereto as Exhibit 1 is a true and correct copy of the President Trump’s
25   Executive Order, signed January 20, 2025, entitled “Protecting the Meaning and Value of
26   American Citizenship.”


     DECLARATION OF LANE POLOZOLA                      2              ATTORNEY GENERAL OF WASHINGTON
                                                                               Civil Rights Division
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                                                                               Seattle, WA 98104
                                                                                  (206) 464-7744
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 1          6.       Attached hereto as Exhibit 2 is a true and correct copy of the Agenda47: Day
 2   One Executive Order Ending Citizenship for Children of Illegals and Outlawing Birth Tourism,
 3   DonaldJTrump.com, dated May 30, 2023. This webpage was last accessed on January 21, 2025,
 4   at          https://www.donaldjtrump.com/agenda47/agenda47-day-one-executive-order-ending-
 5   citizenship-for-children-of-illegals-and-outlawing-birth-tourism.
 6          7.       Attached hereto as Exhibit 3 is a true and correct copy of an article by Tarini
 7   Parti and Michelle Hackman published in The Wall Street Journal, entitled, Trump Prepares for
 8   Legal Fight Over His ‘Birthright Citizenship’ Curbs (Dec. 8, 2024). This article was last
 9   accessed on January 21, 2025, at https://www.wsj.com/politics/policy/trump-birthright-
10   citizenship-executive-order-battle-0900a291.
11          8.       Attached hereto as Exhibit 4 is a true and correct copy of the State Department’s
12   Foreign Affairs Manual, 8FAM 301.1. This document was accessed on January 21, 2025, at
13   https://fam.state.gov/FAM/08FAM/08FAM030101.html.
14          9.       Attached hereto as Exhibit 5 is a true and correct copy of the U.S. Department of
15   State’s Application for A U.S. Passport Form, DS-11 04-2022 copy. This document was last
16   accessed on January 21, 2025, at https://eforms.state.gov/Forms/ds11_pdf.pdf.
17          10.      Attached hereto as Exhibit 6 is a true and correct copy of I am a U.S. citizen:
18   How do I get proof of my U.S. citizenship?, U.S. Citizenship and Immigration Services, M-560B
19   (October 2013) N copy. This document was last accessed on January 21, 2025, at
20   https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf.
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     DECLARATION OF LANE POLOZOLA                     3              ATTORNEY GENERAL OF WASHINGTON
                                                                              Civil Rights Division
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                                                                              Seattle, WA 98104
                                                                                 (206) 464-7744
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 20th day of January 2025, at Seattle, Washington.
 4
                                                  s/ Lane Polozola
 5                                                LANE POLOZOLA, WSBA #50138
                                                  Assistant Attorney General
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     DECLARATION OF LANE POLOZOLA                     4                 ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
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